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AO 91 (Rev. ll/11) Criminal Complaint                                                                 ~       LL


                                       UNITED STATES DISTRICT COURT
                                                                                                   .~ c. ~~STRICT COURT
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                                                              for the                            f'~
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                                                   Central District of California
                                                                                                 I MNY 14 201
                                                                                                                    CALIFORNIA
                                                                                              CENTRAL DISTRICT OF      DEPUTY
 United States of America                                                                     BY


                         v.
                                                                             - ► ~
 JOHN SARO BALIAN,                                                •      i
                                                                  •            '          • 1-

                         Defendant

                                  ,.
  __-,          ~.. ~,        -               CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Oar about the date-of October 10, 2017, in the county of Los Angeles in the Central District of California, the

defendant violated: -~

           Code Section ~                                               Offense DescYiption

           18 U.S.C. § 1001(a)(2)                                       Making False Statements

         This criminal complaint is based on these facts:

          Please see attached affidavit.

         ❑
         D Continued on the attached sheet.


                                                                                               ~s/
                                                                                       Complainant's signature

                                                                                   Michael Hyland, Special Agent
                                                                                        Printed name and title
Sworn to before me and signed in my presence.

Date:                         .s l/ ~( f 'LO ~ ~                                        puc1A ~.1~ OSEI~gf~~,
                                                                                          Judge's signature

 City and state: Los Angeles, California                                Hon. Alicia G. Rosenberg, U.S. Magistrate Judge
                                                                                        Printed name and title
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                                 T TTTTTTTTT




     I, Michael Hyland, being duly sworn, declare and state as

follows:
                            I.   INTRODUCTION

        1.    I am a Special Agent ("SA") with Immigration and

Customs Enforcement, Homeland Security Investigations ("HSI")

and I have been so employed since November 2009.         From June 2009

through November 2009, I received training at the Law

Enforcement Training Center.       This training included courses on

conducting criminal investigations, narcotics identification,

organized crime, gangs, and other law enforcement topics.

Previously, I was employed as a Special Agent with the Air Force

Office of Special Investigations beginning in June 2000.

        2.    As an HSI agent, I have investigated complex criminal

conspiracies associated with Mexican cartels, drug trafficking

organizations, organized crime syndicates, and violent street

gangs who committed violations of law associated with narcotics

distribution, racketeering, fraud, contraband smuggling, and

money laundering.    In relation to the investigation of these

cases, I have led and/or participated in the execution of search

warrants to seize evidence of violations of federal law and

arrest warrants to apprehend individuals who commit such

violations.    I have also participated in many aspects of

criminal investigations including the issuance of subpoenas,

reviewing evidence, conducting physical and electronic

surveillance, working with informants, interviewing witnesses,

executing search and arrest warrants, monitoring consensually-


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recorded meetings and telephone calls, and conducting court-

authorized interception of wire communications.         Additionally, I

have learned the methods used by individuals to commit criminal

activity by interviewing numerous defendants, informants, and

other witnesses involved in criminal activity.         In this way, I

have become familiar with the methods used by individuals

involved in organized crime and gang activity to conduct various

criminal activities.     I have also become familiar with the

methods used by such individuals to avoid detection by law

enforcement, including use of cellular telephones that are

subscribed to the names of other persons; prepaid cellular

telephones; counter-surveillance techniques; coded and ambiguous

language; multiple vehicles; and false identities.          I have also

become familiar with the methods, language, structures and

criminal activities of organized crime, street gangs, and

transnational gangs operating in and through this judicial

district.

        3. Since September 2015, I have been assigned to the

Federal Bureau of Investigation's ("FBI") Eurasian Organized

Crime Task Force ("EOCTF")       The EOCTF is comprised of special

agents from the FBI and other federal law enforcement agencies,

such as HSI, Internal Revenue Service - Criminal Investigation,

Health and Human Services, and federally deputized state law

enforcement officers from local agencies, including the Los

Angeles Police Department ("LAPD"), the Los Angeles County

Sheriff's Department ("LASD"), the Burbank Police Department,

the California Department of Health Care Services, and the

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Glendale Police Department ("GPD"), as well as other law

enforcement officials.       The EOCTF is headquartered at the GPD in

Glendale, California.       I am the lead case agent for the

organized crime investigation described herein.

                          II. PURPOSE OF AFFIDAVIT

          4.    This affidavit is made in support of an arrest

warrant and criminal complaint charging JOHN SARO BALIAN

("BALIAN"), a narcotics detective assigned to the GPD, with a

violation of 18 U.S.C. ~ 1001, False Statements to Federal

Agents.    Additionally, this affidavit is made in support of

search warrants for the residence of BALIAN located at 4616

Guava Avenue, Seal Beach, CA 90740 (hereinafter, the "SUBJECT

PREMISES") and a cellular phone subscribed to BALIAN

(hereinafter, "Balian's Personal Cell Phone").

          5.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.       This affidavit is intended to show merely that there

is sufficient probable cause for the requested criminal

complaint, arrest warrant, and search warrants, and does not

purport to set forth all of my knowledge of, or investigation

into, this matter.       Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                       III. PREMISES TO BE SEARCHED

     6.        The SUBJECT PREMISES is a single-family home that is

located on the south side of Guava Avenue, as described in

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Attachment A-1, which is incorporated herein by reference.           The

second item to be searched is Balian's Personal Cell Phone which

utilizes telephone number (714)493-8143, and is further

described in Attachment A-2, which is incorporated herein by

reference.

                          IV. ITEMS TO BE SEIZED

     7.      The items to be seized include any data that

constitutes evidence, fruits, and/or instrumentalities for

violations of 18 U.S.C. ~~ 1962(c) and (d) (Racketeering and

Racketeering Conspiracy), 18 U.S.C. ~ 1951 (Interference with

Commerce by Robbery or Extortion); 18 U.S.C. ~ 1512(c)(2)

(Obstruction of Justice), 18 U.S.C. § 666 (Bribery and Theft),

and 18 U.S.C. § 1001 (False and Concealing Statements), as

described further in Attachment B, which is also incorporated by

reference.

                     V.   SUMMARY OF PROBABLE CAUSE

     8.     In 2016, the EOCTF was investigating the relationship

between the Mexican Mafia and Armenian Organized Crime in the

Southern California area.      During the investigation, BALIAN was

identified as a person of interest and was interviewed several

times.    Based on my training, experience, conversations with

other law enforcement officers and individuals familiar with the

facts of the investigation, I believe BALIAN has obstructed

justice, provided false and misleading statements to federal

agents, and accepted a bribe.      There is probable cause to show

that BALIAN obstructed justice and provided these false and

misleading statements in an effort to hide his associations and

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criminal collaborations with gang members, the Mexican Mafia,

and Armenian Organized Crime.

                    VI. STATEMENT OF PROBABLE CAUSE

     A.    Interview of CHS-1

     9.     On December 14, 2015, FBI Task Force Officer ("TFO")

Antonio Cabrera and I, along with law enforcement officers

assigned to Drug Enforcement Administration ("DEA"), LAPD, and

the LASD, interviewed a confidential human source ("CHS-1") .'-

During the interview, CHS-1 stated that he was previously



     1CHS-1 has a criminal history from 1990 to August 2016.
CHS-1's early criminal history through the 1990's includes
trespassing, petty theft, burglary, receiving stolen property,
access card theft, and criminal conspiracy. CHS-1's more recent
criminal history includes the following: July 16, 2002, arrested
for manufacturing of a controlled substance, and convicted on
October 25, 2002 for transportation and sale of controlled
substances; August 20, 2002, arrested for kidnapping for ransom
and false imprisonment, convicted on November 19, 2002 for false
imprisonment; July 20, 2005, arrested for reckless driving,
unlicensed driver, and convicted on December 09, 2005; December
07, 2005, arrested for grand theft auto, and convicted on August
31, 2006 for grand theft auto, possession of controlled
substance; May 10, 2006, arrested for vehicle theft, and
convicted on February 5, 2007; May 27, 2006, arrested for
several counts of grand theft and forgery, two counts of
possession of firearm by felon, burglary, vehicle theft,
possession of controlled substances for sale, and convicted on
February 5, 2007 for identity theft, stolen credit cards, and
grand theft; August 20, 2009, arrested for parole violation,
possession of controlled substance for sale, and convicted for
possession of forged drivers' license/identity card, identity
theft; April 30, 2015, arrested for identity theft, and
convicted on August 23, 2016, for vehicle theft with prior.
CHS-1 received $250 for reimbursements of costs associated with
meeting case agents. CHS-1 was providing assistance with the
hopes of receiving favorable consideration for approximately two
state level criminal matters of Grand Theft; however, on
February 16, 2017, CHS-1 was arrested in North Carolina for
Theft after he/she had agreed to work on this investigation. As
a result, the EOCTF declined to provide a letter of
recommendation in support of his state matters.


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involved in a number of criminal activities with an Armenian

individual (hereinafter, referred to as "CHS-2"), including drug

trafficking, car theft, and fraud.2       CHS-1 also discussed

BALIAN's role in those crimes.      Specifically, CHS-1 stated that

in 2015, CHS-1 stole over a dozen high-value cars for CHS-2 and

BALIAN.    CHS-1 explained that after stealing a car, CHS-1 would

leave the keys inside the car and park it on a street designated

by CHS-2, where an unknown co-conspirator would pick up the car.

CHS-2 would then pay CHS-1.      CHS-1 stated that he believed the

cars he/she stole were later loaded into shipping containers to

be sold outside the United States.

     10.    According to CHS-1, before stealing a car, CHS-1

would meet with CHS-2 and BALIAN to discuss which cars to steal

and CHS-1's payment.     CHS-1 recalled that he would use narcotics

with CHS-2 in the presence of BALIAN at these meetings.          After




     2 CHS-2 was not cooperating with law enforcement at the time
of the conduct described by CHS-l. After the interview of CHS-
1, the EOCTF investigated CHS-2, obtained authorization to
intercept his telephone calls, and eventually charged CHS-2 with
conspiracy to distribute narcotics and being a felon in
possession of a large number of firearms. After indictment,
CHS-2 agreed to cooperate with law enforcement. CHS-2 has a
criminal history record that includes the following convictions:
June 08, 2001, Under the Influence of Controlled Substance
(PCP); November 19, 2001, Possession of a Controlled Substance;
August 17, 2004, Possessing a Forged Driver's License; September
17, 2004, Forgery; December 1, 2010, Possession of a Controlled
Substance for Sale, Transportation/Sell/Etc. of a Controlled
Substance, and Possession of Controlled Substance; June 4, 2014,
Possession of Concentrated Cannabis. In addition, CHS-2 has an
arrest for a state firearm offense that is currently pending.


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deciding which cars to steal, BALIAN would then call an

individual he/she knew only as "Cheetah" for approval.3

     11.     CHS-1 recalled that BALIAN, whom he knew as "Saro,"4

was present at meetings with CHS-1 and CHS-2 approximately 10 to

15 times in 2015.     CHS-1 occasionally saw BALIAN wearing a law

enforcement badge and gun on his hip; however, CHS-1 could not

determine which law enforcement agency was listed on BALIAN's

badge.     CHS-1 explained that because BALIAN spoke openly about

crimes and was present when CHS-1 and CHS-2 used narcotics, CHS-

1 believed that CHS-2 trusted BALIAN.       Therefore, CHS-1 was not

concerned that BALIAN was a law enforcement officer.

     12.     CHS-1 recalled that other individuals would often be

present in the office while CHS-1, CHS-2, and BALIAN discussed

the theft of cars.    CHS-1 recalled that, on occasion, an

individual CHS-1 knew as both "Pete" and "halo" was present.

CHS-1 identified "Pete" as Mexican Mafia associate P.C., when

shown a photograph of P.C.S     From my training, experience, and

conversations with other law enforcement officers, I know that

the presence of a Mexican Mafia associate during the discussion



     3 Based on my knowledge of this investigation, I believe
"Cheetah" may be L.T., aka "Lion"; however, CHS-1 has never met
"Cheetah." For this reason, we have not shown CHS-1 a
photograph of L.T.
     4 According to GPD personnel records, "Saro" is BALIAN's
middle name.
     5 On June 13, 2013, P.C. pled guilty to RICO in United
States v. Rudy Aguirre, et al., CR No. 09-939-GW in the Central
District of California, and was ultimately sentenced to 15
months' imprisonment. P.C. was shot and killed outside his home
on November 22, 2015, and was believed to be a Mexican Mafia
associate at the time of his death.

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of criminal activities is a significant indicator that those

actions have been sanctioned by the Mexican Mafia.

     13.    CHS-1 also recalled a number of different

conversations with CHS-2 about committing additional crimes to

obtain money.    In one conversation, CHS-2 discussed extorting

marijuana dispensaries in Los Angeles for $50,000.          CHS-1 told

CHS-2 that he/she believed that $50,000 was too much money, and

they agreed to lower it to $2,000 per week depending on the size

of the business.    CHS-2 wanted CHS-1 to go with P.C. and some

"Southsiders" to attempt to extort the dispensaries.          Based on

my training and experience, I understand the term "Southsiders"

is commonly used to refer to Hispanic gang members who pay

tribute to, and take orders from, the Mexican Mafia.          According

to CHS-1, CHS-2's plan was to use the "Southsiders" to

intimidate the dispensary owners and, if that tactic was

unsuccessful, CHS-2 would then send BALIAN and the police to

"hit" the dispensaries.     CHS-1 stated he did not know if CHS-2

actually followed through with this plan.

     14.    According to CHS-1, CHS-2 referred to BALIAN as his

partner, and said that BALIAN used a "burner" cell phone to call

Armenian criminals prior to the execution of police search

warrants.   Based on my training and experience, I know that the

term "burner" is used to refer to pre-paid cellular phones that

do not require photo identification to register and are often

used by criminals to remain anonymous and conceal their criminal

activities.
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      15.   I showed CHS-1 a series of photographs and asked if

he/she recognized "Saro."      Without hesitation, CHS-1 picked the

photograph of BALIAN.     CHS-1 also recalled that BALIAN drove a

four-door Honda Accord, dark grey in color.         TFO Antonio Cabrera

later informed me that BALIAN's unmarked police car was a dark

colored four-door Honda Accord.

     16.    In late December 2015, I discussed the investigation

of CHS-2 and his/her criminal organization with the DEA,

including SA Christopher Amidan.         Based on my conversations with

the DEA, I learned the following:

     a.     On October 22, 2015, the DEA conducted a trash search

of CHS-2's residence.     During the search, agents found two pages

of handwritten notes.     I have reviewed a photograph of one of

the handwritten notes that the agents obtained, which appeared

to contain criminal objectives.         Specifically, the note

contained the following: "The [CHS-2] Group, 4th Quarter Goals.

1. Talk to Saro, make the deal P/O Gordo, Mexca 10/per week, at

23.5."    Based on my training, experience, and knowledge of this

investigation, I believe that the note refers to a price of

$23,500 for a kilogram of cocaine from Mexico.         While the note

suggests that BALIAN, aka "Saro," would be involved in the

cocaine transaction, BALIAN's exact role is unknown.

     b.     On December 11, 2015, the DEA was able to enter and

observe an office leased to CHS-2 in Los Angeles, California,

after CHS-2 was evicted.     I have reviewed photographs of the

inside of the office taken by the DEA on December 11, 2015.          In

one of the photographs, there was graffiti on a wall inside the

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office that read: "HYRUM, BIG MALO, [CHS-2], ANTO, SARO" and

further identified these individuals as a group called the "The

[CHS-2] Group," "TNGl," and "Downtown Crew."         This street-gang

style writing appeared to identify the organization's name as

"The [CHS-2] Group" and listed the monikers of the individuals

involved, including P.C. (known as "Big Malo") and "Saro,"

believed to be John Saro BALIAN.

     B.    Telephone Toll Analysis

     17.   I have reviewed telephone records pertaining to 714-

493-8143 (subscribed to "John Balian" at the SUBJECT PREMISES,

hereinafter "Balian's Personal Cell Phone") and CHS-2's cell

phone (hereinafter, "CHS-2's Cell Phone").6

     18.   The records show that between September 1, 2015 and

July 22, 2016, CHS-2's Cell Phone and Balian's Personal Cell

Phone had approximately 265 communications.         Additional records

showed that between December 8, 2016 and March 20, 2017, CHS-2's

Cell Phone and Balian's Personal Cell Phone had an additional 11

communications, with the last call on February 25, 2017.

     C.    First Interview of BALIAN by LAPD and FBI

     19.   On April 20, 2017, FBI SA James Muha, and LAPD,

Robbery-Homicide Division ("RHD") Detectives Frank Flores and

Daniel Jenks interviewed BALIAN.         This interview was recorded.

I listened to the recording and learned that during the

interview, BALIAN was shown photographs of various people.


     6 As previously mentioned, we obtained authorization to
intercept CHS-2's Cell Phone and confirmed that he was the
primary user of the phone.


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BALIAN identified the photo belonging to Jose Loza, aka "Santa

Fe," aka "Cartune," aka "Pumpkin" ("Loza").'        BALIAN stated that

he knew of Loza from his former duties as a Montebello Police

Department Officer.     Specifically, BALIAN said, "I was an expert

of the Mexican Mafia back at Montebello [Police Department] so I

used [to] stay on top of all these guys and stuff like that."

BALIAN continued to answer that Loza's name was "Joey, Joey,

Joe, Jose, something like that from Canta Ranas."         During the

interview, BALIAN's answers suggested that he had never met or

spoken to Loza.    Specifically, at one point, BALIAN stated that

he did not have any "run-ins" with Loza, but knew of .him only

from "intel" from when he worked at the Montebello Police

Department.

     20.   Based on my experience, training, and knowledge of

this investigation, I believe that BALIAN was not honest and

forthright during the interview and was attempting to hide and

conceal his relationship with Loza by providing misleading

statements.   As described in paragraphs 87-92 below, I believe

that BALIAN was communicating with Loza via a burner cell phone

to discuss jointly undertaken criminal activities.         As also

described below in paragraph 64, CHS-3 stated that BALIAN



       On June 14, 2016, Jose Loza, aka "Cartune," aka "Pumpkin,"
and 30 members and associates of a Santa Fe Springs-based street
gang called "Canta Ranas" were arrested pursuant to a federal
indictment for violations of RICO and other crimes in United
States v. Jose Loza, et al., CR No. 16-390-VAP. HSI SA Aaron
Gutierrez informed me that they believe Loza had recently become
a full-fledged member of the Mexican Mafia, is the "shotcaller"
of the Canta Ranas gang, and was previously arrested on May 23,
2016, for the murder of another gang member.

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provided Loza with information related to extortions and other

criminal activity.

      21.   When asked about CHS-2 during the interview, BALIAN

said that he knows CHS-2 and has been to his office in Los

Angeles.    BALIAN said that when he would visit CHS-2 at his

office, he noticed a number of individuals hanging out there.

BALIAN believed CHS-2 would tell those individuals that CHS-2

had "got this special f**king cop, pig this and that so these

guys get all f**king excited, you know which there is nothing

like that, absolutely nothing."       BALIAN also said, "I'm not

f**king on anybody's payroll."

     22.    Upon reviewing the recording and other evidence

obtained during the course of this investigation, it is my

belief that BALIAN was not forthright and honest pertaining to

his criminal activities with CHS-2.       As described in paragraphs

24-27, and 32-33, I believe that, at a minimum, CHS-2 paid

BALIAN money in exchange for BALIAN to locate an individual who

stole property from CHS-2.

     D.     Arrest and Interview of CHS-2

     23.    In May 2017, TFO Cabrera and I arrested CHS-2 pursuant

to a criminal complaint for narcotics distribution, in violation

of 21 U.S.C. ~§ 841(a)(1) and (b)(1)(C) (Possession with intent

to distribute and distribution of a controlled substance).

     24.    Later that same day, TFO Cabrera and I interviewed

CHS-2.    This interview was recorded.     Prior to the interview

starting, TFO Cabrera and I identified ourselves to CHS-2 as

federal agents and advised him of his rights.         CHS-2 stated he

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understood his rights, waived them, and decided to answer our

questions without a lawyer present.       During the interview, CHS-2

was asked about his relationship with BALIAN and if CHS-2 ever

paid BALIAN money.     CHS-2 said he has known BALIAN since

approximately middle school and has paid him money over the

years.     CHS-2 described BALIAN as a greedy person who would do

anything, including picking up or delivering drugs.

     25.    CHS-2 provided an example.     CHS-2 said that someone

broke into his office in February 2017 and stole a significant

amount of property.     CHS-2 said BALIAN agreed to locate the

individual suspected of stealing the property in exchange for

$10,000.    CHS-2 said that he paid BALIAN $2,000 initially to

find the individual responsible and return what was stolen, but

BALIAN never recovered/returned any of CHS-2's property.

According to CHS-2, after BALIAN failed to locate and recover

the stolen items, CHS-2 asked BALIAN to return the $2,000;

however, BALIAN had not done so at the time of the interview.e

     26.    CHS-2 recalled another instance in which he paid

BALIAN to locate someone.     CHS-2 stated that he was contacted by

the family of an individual he knew as "Gordo."         CHS-2 said that

"Gordo" was convicted after a criminal trial in the State of

California Superior Court and was serving a life sentence, but




     8 As described in paragraph 51 below, we subsequently
obtained a search warrant for CHS-2's Cell Phone and found text
messages between CHS-2's Cell Phone and Balian's Personal Cell
Phone discussing the payment of money in exchange for locating
an individual who stole property from CHS-2.


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was working on an appeal to overturn his conviction.9          According

to CHS-2, "Gordo's" family paid him $80,000 to locate a witness

named "Patlan" and persuade "Patlan" to recant his/her testimony

against "Gordo."     CHS-2 said that "they" reached out to a

Mexican Mafia member and that "BALIAN orchestrated this whole

f**king thing."    CHS-2 said that BALIAN was unable to locate

"Patlan," and CHS-2 returned the $80,000 to "Gordo's" family.

     27.    CHS-2 also said that he loaned BALIAN $20,000, which

BALIAN never returned; however, CHS-2 terminated the interview

before TFO Cabrera and I could obtain more detailed information

about the loan.

     E.     Second Interview of CHS-2

     28.    Later in May 2017, TFO Cabrera and I interviewed CHS-2

again.    This interview was recorded and conducted in the

presence of CHS-2's attorney.      TFO Cabrera and I asked CHS-2 to

provide more specific information pertaining to his relationship

and dealings with BALIAN, as well as to provide additional

information pertaining "Gordo."



     9 It is believed that the "Gordo" mentioned by CHS-2 is
Arutyun Khrayan, aka "Gordo" ("Khrayan")   On June 18, 2003,
Khrayan was arrested by Glendale Police Department for a failed
kidnapping attempt of a wealthy Armenian named A.M., the owner
of a baking company in Glendale. At the time of Khrayan's
arrest, Khrayan was traveling in a vehicle with L.T. Along with
Khrayan, L.T. was arrested for assault with a firearm against a
Law Enforcement Officer. L.T. was acquitted at trial. On
January 23, 2008, Khrayan was convicted by a jury in Los Angeles
Superior Court, for Kidnapping for Ransom, and other State of
California Charges. James Anthony Patlan testified at trial
against Khrayan. Khrayan was subsequently sentenced to life
with the possibility of parole. On or about April 12, 2012,
Khrayan filed an appeal of his conviction with the Court of
Appeal, State of California.

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      29.   According to CHS-2, approximately three years ago,

BALIAN told CHS-2 that BALIAN had two Armenian friends --

L.T. and "Coco" (believed to be G.T. ) -- who had a friend named

"Gordo" who was incarcerated.      BALIAN stated that "Gordo" was

convicted after a gang member named "Patlan" testified against

"Gordo."    BALIAN asked CHS-2 if P.C., or some of P.C.'s friends,

could find "Patlan" and "bring him in."        BALIAN wanted P.C. and

his associates to persuade Patlan to change his testimony.             CHS-

2 said it was possible and eventually introduced BALIAN to P.C.

in CHS-2's office.

     30.    CHS-2 said that after BALIAN met P.C., BALIAN provided

CHS-2 with $80,000 as payment to find "Patlan."         BALIAN told

CHS-2 that the money originated from "Gordo's" brother.          CHS-2

understood that once "Patlan" was found and changed his

testimony, CHS-2 would receive an additional $40,000.          CHS-2

said that out of the initial $80,000, he kept $40,000 and gave

$40,000 to P.C.    CHS-2 said that when P.C. was unable to locate

Patlan, CHS-2 returned the $80,000 to BALIAN, and took a $40,000

loss because P.C. did not return his share.

     31.    CHS-2 said that approximately two years ago, BALIAN

asked him for a $20,000 loan to help relocate BALIAN's

girlfriend (believed to be S.S.) who was being harassed.          CHS-2

said that he gave BALIAN the money; however, BALIAN never repaid

CHS-2.

     32.    CHS-2 also discussed again the burglary of his office.

CHS-2 said in approximately February 2017, someone broke into

his office and stole property.      CHS-2 believed that that an

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individual named "Sako," who CHS-2 believed was addicted to

methamphetamine, broke into his office with the assistance of

"Arman Berberyan."     CHS-2 believed that Berberyan gave "Sako" an

office key, which was used to make entry into the office for the

purpose of stealing the property.        According to CHS-2, CHS-2

paid BALIAN $2,000 upfront to retrieve the property, and agreed

to pay BALIAN an additional $8,000 after BALIAN recovered the

property.    CHS-2 said that he provided BALIAN with an address on

"Denny Street," and that BALIAN requested additional information

at some point , to

     F.     Interview of U.S. Marshals Service Deputy Rick Shaw

     33.    On June 7, 2017, TFO Cabrera interviewed United States

Marshals Service ("USMS") Deputy Marshal Rick Shaw at GPD.

During the interview, TFO Cabrera asked Deputy Shaw if he had

any dealings with BALIAN.      Deputy Shaw said in early March 2017,

BALIAN came and spoke to Deputy Shaw at his place of work, the

USMS Fugitive Task Force at GPD.l'-      BALIAN asked Deputy Shaw if

he could assist him with locating a subject in one of his

investigations named "Armen Berberyan."        BALIAN said he had a

phone number belonging to the subject, which he obtained from a


     10 As described in paragraph 51 below, I obtained a search
warrant for CHS-2's Cell Phone and found text messages between
CHS-2's Cell Phone and Balian's Personal Cell Phone in which
they discuss BALIAN locating individuals named "Berberyan" and
"Sako," in exchange for money.
     11 In addition to the USMS task force being stationed at the
GPD, I received a letter from Glendale's Interim Chief of Police
that stated that over the last several years the City of
Glendale has annually received benefits in excess of $10,000 in
federally funded programs.


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CHS.     BALIAN also identified the CHS by CHS-2's true name.l2

Deputy Shaw could not remember the phone number BALIAN provided

for Berberyan, but believed it started with 747.13         Deputy Shaw

said he conducted a check on the phone number, and learned that

the phone number was being serviced by an Internet provider.

Deputy Shaw then asked BALIAN for additional information

pertaining to his CHS because he (Deputy Shaw) needed to write a

search warrant to obtain additional information, such as the

Internet Protocol ("IP") address/location associated with the

phone.       BALIAN told Deputy Shaw that he did not want to disclose

information pertaining to the CHS in any court documents.

Deputy Shaw advised BALIAN he did not need identifier

information pertaining to his CHS, but rather he only needed

BALIAN's statement and reporting information on how BALIAN

obtained Berberyan's phone number from the CHS.         According to

Deputy Shaw, BALIAN declined to provide additional information

for the search warrant affidavit.

       G.     Second Interview of BALIAN by FBI and DHS

       34.    On June 21, 2017, FBI SA Brian Adkins and Department

of Homeland Security, Office of the Inspector General (DHS-OIG)

SA Leonard V'Dovec interviewed BALIAN at GPD.         This interview

was recorded and I have listened to the recording.         At the

beginning of the interview, the agents fully identified


     12 On March 30, 2018, I spoke to BALIAN's supervisor, GPD
Lieutenant Bob Zahreddine, who informed me that CHS-2 was never
registered as a confidential informant with GPD.
     13 During the search of CHS-2's Cell Phone, we found
telephone number (747)224-8447 saved in CHS-2's Cell Phone
contacts as "Armen 1."

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themselves to BALIAN.     During the interview, the agents asked

BALIAN, "did anyone ever offer you money" to conduct any law

enforcement checks, and BALIAN said "no," and that he never

conducted any such checks.      The agents also asked BALIAN if he

ever "ask[ed] someone," i.e., another law enforcement officer,

to conduct law enforcement checks on anyone in exchange for

money.     BALIAN said "no."   BALIAN stated that he knew it was

wrong for him to use his position in law enforcement to conduct

checks or locate people in exchange for money.

     35.     BALIAN also said he knows that CHS-2 is a convicted

felon, but the only time he was aware of CHS-2 possessing

firearms is when CHS-2 was "stopped in Ventura County."

     36.     Based on my experience, training, and knowledge of

this investigation, I believe that BALIAN was not honest and

forthright during the interview.       As previously described in

paragraph 25, during the interviews of CHS-2, CHS-2 specifically

said that he paid BALIAN to locate Berberyan and Sako who stole

property from CHS-2.     In paragraph 33, Deputy Rick Shaw said

that BALIAN came to him and requested his assistance locating

Berberyan.    Further, as described in paragraph 51 below, I

reviewed text messages between CHS-2's Cell Phone and Balian's

Personal Cell Phone discussing BALIAN's attempts to locate

Berberyan in exchange for money.       And finally, as discussed in

paragraphs 43 and 59, BALIAN later admitted that he has seen

firearms in CHS-2's office.

     37.    The agents also asked BALIAN if he had any information

related to the murder of H.K., and BALIAN failed to provide any
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further information.     As discussed in paragraph 56, BALIAN later

admitted that he had additional information related to the

murder of H.K.     Specifically, during the October 10, 2017

interview, BALIAN told me that Hispanic gang members asked CHS-2

to murder H.K. as retribution for the murder of P.C.

     H.      Third Interview of BALIAN by HSI and FBI

     38.     On August 30, 2017, TFO Cabrera and I interviewed

BALIAN at the HSI Long Beach Office.       This interview was

recorded.     During the beginning of the interview, TFO Cabrera

and I introduced ourselves and told BALIAN that we were federal

agents assigned to EOCTF.      I explained to BALI.AN that TFO

Cabrera and I were the case agents assigned to the prosecution

of CHS-2.     I also told BALIAN that we interviewed CHS-2 at

length and had questions for him (BALIAN) pertaining to his

relationship with CHS-2.     I told BALIAN that when TFO Cabrera

and I spoke to CHS-2, we explained to CHS-2 that it was a crime

to lie to federal law enforcement, and we only wanted truthful

responses to our questions.

     39.     During the interview, we asked BALIAN if he "ever

received money from [CHS-2]."      BALIAN said "no," but several

minutes later said that CHS-2 may have offered him $10,000 or

$20,000, but he never received any money from CHS-2.

     40.     I then asked BALIAN if he ever provided CHS-2 with

"any investigative assistance," and BALIAN said "no" but

clarified that CHS-2 came to him about Berberyan.         BALIAN

explained that CHS-2 had a falling out with his "crime partner"

Berberyan.    According to BALIAN, CHS-2 told BALIAN that

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Berberyan was wanted by the U.S. Marshals Service.          BALIAN said

he went to the Marshals Task Force at GPD and spoke a U.S.

Marshals Service Deputy.      BALIAN said he told the Deputy

Marshal, "Hey, [CHS-2] provided me a             current cell phone of

Armen and apparently you guys went to his girlfriend's house or

wife's house or whatever looking for him?        Here's the cell phone

number.     Maybe you can ping the phone and grab him."

     41.    BALIAN also said that he received a text out of the

blue from CHS-2 that said that BALIAN owed CHS-2 $2,000.          BALIAN

said he did not know what CHS-2 was referring to when he

mentioned the $2,000.

     42.    BALIAN then described how he believed CHS-2 would make

unrealistic requests from BALIAN and provided an example.

BALIAN said that CHS-2 would say, "'this guy owes me a hundred

thousand.    Can you go and arrest him?     Take him to a room and I

walk in.    Let me slap the s**t out of him and get my money out.

I'll give you ten percent."'

     43.    I asked BALIAN if when he observed CHS-2 use heroin

when BALIAN visited CHS-2 at his office.        BALIAN acknowledged

that he had, and said that CHS-2 would tell BALIAN, "hey, I have

to do it or I'm going to get sick.       Out of respect for you, I'm

going to go in the back and do it."       I then asked BALIAN if he

ever saw weapons inside CHS-2's office during his visits.

BALIAN acknowledged that he had and said, "[a] couple times when




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he opened up the safe, I just            kind of looked and I saw

like the butt of a handgun.      Stuff like that.     And that's it."14

     44.   I asked BALIAN if he and CHS-2 ever discussed doing

crimes together.    BALIAN acknowledged that CHS-2 told BALIAN

that CHS-2 could provide BALIAN with locations of drug stash

houses and CHS-2 suggested that they steal the drugs together.

     45.   I asked BALIAN if he was aware that CHS-2 had a

relationship with the Mexican Mafia and other Hispanic gangs.

BALIAN acknowledged that CHS-2 did have a connection and said

that he met P.C. through CHS-2 during one of his visits to CHS-

2's office.    BALIAN said that despite meeting P.C., he did not

maintain a friendship or relationship with P.C.         When BALIAN

would visit CHS-2 at this office, he noticed P.C. was there on

two or three occasions.     BALIAN said when he arrived, P.C. would

leave.

     46.   BALIAN also described one visit with CHS-2 in which

CHS-2 showed BALIAN a picture that was on CHS-2's cell phone.

According to BALIAN, the picture was of P.C. and two other

Hispanic males that BALIAN suspected were gang members that was

taken in Las Vegas.     CHS-2 told BALIAN that one of the

individuals was a gang member from "Frogtown" and the other was

from a gang in Santa Fe Springs.

     47.   TFO Cabrera asked BALIAN if he knows an individual

known as "Santa Fe."     BALIAN responded, "Yeah, I            know of


     14 CHS-2 has three prior felony convictions, the first of
which occurred in 2001, and is prohibited from possessing
firearms.


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him.    Yeah.   Cartune."15   TFO Cabrera then inquired about the

gang member from "Frogtown."      BALIAN responded, "Yeah          .

Bouncer from Frogtown."16     TFO Cabrera asked BALIAN, "have you

ever met Santa Fe," and BALIAN responded, "No."         TFO Cabrera

then asked, "Have you ever seen [Santa Fe] at [CHS-2's] office,"

and BALIAN again responded, "No. Never."        BALIAN said that CHS-2

wanted BALIAN to sit down and meet with "Cartune" and "Bouncer"

in his office, but BALIAN said that he refused to do so.

       48.   BALIAN was asked again if he had ever met "Cartune" or

"Bouncer" in person, and BALIAN responded, "no."         BALIAN was

then asked if he knows CHS-3 by his gang moniker,l' and BALIAN

responded "no."

       49.   TFO Cabrera asked BALIAN again, if he had ever met any

"EME [Mexican Mafia] guys," and BALIAN said "no."         TFO Cabrera

also asked BALIAN again if he had ever met "Cartune," and BALIAN

said, "No."

       50.   Upon reviewing the evidence obtained during the course

of this investigation, it is my belief that BALIAN did not

answer questions truthfully in this interview.         As was explained

in detail in paragraphs 24-27, and 32-33, BALIAN was not

truthful about receiving money from CHS-2 for the specific

     is Based on my investigation, I believe BALIAN was referring
to Jose  Loza, aka "Cartune," aka "Pumpkin," who is the lead
defendant in United States v. Jose Loza, et al., CR No. 16-390-
VAP; a RICO case targeting the Canta Ranas gang, and others.
     16 Based on my investigation, I believe BALIAN is referring
to Jorge Grey, aka "Bouncer," who is the lead defendant in
United States v. Jorge Grey, et al., CR No. 15-334-PSG; a RICO
case targeting the Frogtown gang, and others.
     17 CHS-3 is a Hispanic gang member discussed more fully
below.

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   purpose of finding Berberyan.        Moreover, BALIAN was not truthful

   about knowing and maintaining a relationship with several

   Hispanic gang members.       As described below in paragraphs 64-96,

   BALIAN not only knew Hispanic gang members (Loza and CHS-3, and

   others), but BALIAN texted them, provided them pre-paid cellular

   phones, and met with them in person.

           I.     Search Warrant and Review of CHS-2's Cell Phone

           51.    On July 27, 2017, I obtained a Federal Search and

   Seizure warrant from the Honorable Andrew J. Wistrich, United

   States Magistrate Judge, Central District of California, for

   CHS-2's Cell Phone.       From my review of the contents of the

   phone, I found text messages between CHS-2's Cell Phone and

   Balian's Personal Cell Phone regarding a burglary of CHS-2's

   business.       Of note, the text messages describe how CHS-2 paid

   BALIAN $2,000 and promised another $8,000 when BALIAN found

   "Berberyan" and returned CHS-2's property..       Enclosed are the

   excerpts of some of the pertinent texts between CHS-2's Cell

   Phone and Balian's Personal Cell Phone:



   Date.             From Phone#:      Message:
2/03/2017        CHS-2      Call me
2/03/2017        CHS-2      10,000 to start for you
2/04/2017        BALIAN     Call me
2/04/2017        CHS-2      We came in,we have a whole thing of tape coming
                            in and walking out. Like Santa Claus everything
                            in his hands
2/04/2017        BALIAN     When are you going to be alone?
2/04/2017        CHS-2      Right now if you need me to be
2/04/2017        BALIAN     Not now, how about in a few hours?
2/04/2017        CHS-2      Done my Ace done
2/04/2017        BALIAN     Ok


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2/04/2017   BALIAN      On my way
2/04/2017   BALIAN      Ok if big b comes?
2/04/2017   BALIAN      Here
2/04/2017   CHS-2       Sako was the name of the perpetrator Sakoh get
                        armen,Sakoh bring them to me
2/06/2017   CHS-2       I'm home have $$ call you when free
2/06/2017   BALIAN      Ok
2/06/2017   CHS-2       I'm going to go ahead and take you up on that you
                        just please brother This is all that was a gift
                        to my son and I did just like my dad I'm losing
                        it so I ask you be my friend as much as you are a
                        professional
2/07/2017   CHS-2       Sorry brother come to my office early morning
                        tomorrow please come early bro please early I
                        can't let this go any longer please come early
2/07/2017   CHS-2       Are you in town Im going to my office now
2/07/2017   BALIAN      No bro
2/07/2017   CHS-2       I just found out Sakoh is a photographer this for
                        you to know
2/07/2017   BALIAN      Ok
2/07/2017   CHS-2       I'll be in the office around four
2/07/2017   BALIAN      Ok
2/08/2017   BALIAN      Bro, what happened last night? I waited for you
                        all night
2/08/2017   CHS-2       I'm on my way to office right now come see me
                        important
2/08/2017   BALIAN      I can't right now I'm working
2/08/2017   CHS-2       OK when you're off work I'll be there all night
2/08/2017   BALIAN      How old is Armen?
2/08/2017   BALIAN      Also what's his height and weight
2/08/2017   CHS-2       Mid or late 30s 511 6 feet Maybe 180 to 200
                        pounds
2/08/2017   BALIAN      Ok
2/08/2017   BALIAN      You don't have pic of him?
2/09/2017   CHS-2       I don't have a picture
2/09/2017   CHS-2       Brother I don't want to lose my stuff
2/09/2017   BALIAN      Bro, I work full time. I am on it and working on
                        it also. There's only so much I can do. These
                        guys hide well and I'm doing this only with what
                        you said and I know your word is good. I don't
                        want you to think I'm sitting here not doing
                        anything. If you here any new info or think of
                        another angle let me know.
2/09/2017   CHS-2       My brother if you can come to the office tomorrow
                        I'l1 stay late for you we will get this done
                        together and you get stackstill tomorrow I


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                        appreciate your help just knowing I have you
                        there bro does the world for me
2/09/2017   BALIAN      Brother, please give me a solid time and let's
                        try to keep it. It's hard for me to drop
                        everything and come to the office unless I can
                        pre plan it. Please understand! I will do my best
                        when I see you I'll fill you in!
2/09/2017   CHS-2       I got Sako's family's address
2/09/2017   BALIAN      What is it?
2/09/2017   BALIAN      Also what do they call Armen on the streets?
2/09/2017   CHS-2       It's on Danny St., North Hollywood I can give you
                        the street address when I swing by
2/09/2017   BALIAN      I need the exact address!
2/09/2017   BALIAN      Also what do they call Armen on the streets?
2/09/2017   BALIAN      I need the address, also what is Aremens moniker?
2/09/2017   CHS-2       OK my brother I'm going to the house right now
                        I'll text you the address
2/09/2017   BALIAN      Ok, I need to know Armen's moniker?
2/09/2017   CHS-2       6323 Danny St This is Sakoh's parents house
2/09/2017   CHS-2       Regarding Moniker I I'm working on it
2/09/2017   BALI.AN     Can he be from AP?
2/09/2017   BALIAN      Do you have a cell phone number for Armen?
2/10/2017   CHS-2       He's here
2/10/2017   BALIAN      Who?
2/10/2017   CHS-2       Armen
2/10/2017   BALIAN      Did you get your stuff?
2/10/2017   BALIAN      Get his cell number for later
2/10/2017   BALIAN      What's he saying? He doesn't have it?
2/11/2017   CHS-2       13233665030
2/11/2017   BALIAN      Where's your stuff?
2/11/2017   CHS-2       By Sako
2/11/2017   CHS-2       Focus on Sakoh hundred percent all resources on
2/11/2017   BALIAN      How did Sako get the key?
2/11/2017   BALIAN      He is lying to you brother
2/11/2017   BALIAN      Why can't he help you get from Sako since he is
                        the one that sent him
2/11/2017   BALIAN      Armen is responsible
2/11/2017   CHS-2       I'm is number 323-3665030 ArmenCH's number
2/12/2017   CHS-2       Freaking phone left on sisters car I have no
                        former freaking disaster i feel like everything
                        Is falling apart on me this guy is a mess my life
                        up. Brother I know what your prices and I will
                        minute I want to file charges against both of
                        them I'm in Sako and Armen.




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2/12/2017   CHS-2       I want to press charges against Sakoh and Armen,
                        and file a civil suit against ArmenCH
                        family,whatever you've told me I'm ready
2/14/2017   CHS-2       But I want to make a seal on the news everything
                        man I'll be home and I'm sure I want to press
                        charges
2/15/2017   CHS-2       Bro what happened you........now I I am alone.
2/18/2017   BALIAN      Where you at bro?
2/18/2017   CHS-2       Head on over brother I exited home on over
2/18/2017   BALIAN      Ok, where do you recommend to park?
2/18/2017   CHS-2       I would say on Olive brother across secada
                        restaurant usual place
2/18/2017   BALIAN      Ok
2/18/2017   CHS-2       818-366-5010 repeat on Armen number
2/18/2017   CHS-2       You're right 5030 that is his number 100%
2/18/2017   BALIAN      Ok good!
2/21/2017   CHS-2       All focused on Sakoh I got valid information he's
                        the culprit hundred percent All iFocus attention
                        on him
2/21/2017   BALIAN      I think they both are involved
3/05/2017   CHS-2       Brother if you can't do anything at least give me
                        1500 back
3/05/2017   BALIAN      You can have the whole thing back, 2 don't need
                        it
3/05/2017   BALIAN      You are to impatient
3/05/2017   CHS-2       Sorry bro I'm want to lose all my stuff
3/05/2017   BALIAN      I told you I'm working on things but I'm not a
                        magician. You have to wait, you got your self
                        involved with these guys
3/05/2017   BALIAN      He doesn't come out of his house
3/05/2017   BALIAN      I'm sure Armen is involved also
3/13/2017   CHS-2       Bro when can I see you
3/13/2017   BALIAN      Tomorrow bro
3/13/2017   CHS-2       Ok brother
3/17/2017   CHS-2       Things are kind of hard bro can I see you
                        tomorrow
3/17/2017   BALIAN      Yes bro, I'm waiting for you
3/20/2017   BALIAN      Good morning bro, are you there now?
3/29/2017   CHS-2       I just got raded call me back
3/30/2017   BALIAN      ??




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        J.    Fourth Interview of BALIAN by HSI and FBI

        52.   On October 10, 2017, TFO Cabrera and I interviewed

BALIAN at the Seal Beach Police Department.         This interview was

recorded.      At the beginning of the interview, I explained to

BALIAN that it was a crime to lie to federal agents.

Additionally, I explained to BALIAN that TFO Cabrera and I only

wanted the truth to our questions.       BALIAN said he understood.

        53.   I asked BALIAN if he has ever received money from

CHS-2 at any time.      BALIAN responded, "No.    Absolutely not."

        54.   I asked BALIAN if CHS-2 ever requested BALIAN to aid

CHS-2 in locating someone.      BALIAN said CHS-2 did ask, but

BALIAN declined to help CHS-2.      BALIAN clarified that he did do

one "check" for CHS-2 related to Berberyan, and "found out the

Marshals were looking for him and             passed it on to the    /

Marshals."

     55.      TFO Cabrera asked BALIAN that if CHS-2 ever referred

to BALIAN as "his detective."      BALIAN acknowledged that he was

aware that CHS-2 made such references, but said that when he

would hear those comments, he would instruct those individuals

not to make such comments because people could get the wrong

idea.    BALIAN then told TFO Cabrera, "Looking back, [CHS-2] used

the s**t out of my name and my position.        You know what I mean?

But, I can't go back in time to change anything.                But him

giving me money?      No."

     56.      I asked BALIAN if CHS-2 ever discussed with him any

criminal activities.     BALIAN said, "Yes."     BALIAN said that when

he visited CHS-2 at his office, CHS-2 discussed with BALIAN

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killing H.K.     According to BALIAN, CHS-2 told BALIAN that CHS-2

received a call from members of the Mexican Mafia directing

CHS-2 to kill H.K. because they believed H.K. killed P.C.

     57.   I again asked BALIAN if he saw any men in CHS-2's

office when BALIAN visited.      BALIAN acknowledged that he had

seen P.C. in the office three or four times.

     58.   I asked BALIAN what he knew about P.C. at that time.

BALIAN said he knew P.C. was previously incarcerated, based upon

P.C.'s tattoos.    BALIAN believed P.C. was "connected," based

upon what CHS-2 had told him.      BALIAN also said that he believed

that P.C.'s uncles were from the Avenues gang.

     59.   I asked BALIAN if he had seen any weapons in CHS-2's

office and BALIAN said that he had seen the "butt of [a] gun" in

CHS-2's safe, and that CHS-2 had previously sent BALIAN a text

message with a "picture of a gun" with an accompanying text

message that read, "Look what I just got."

     60.   I showed BALIAN a black and white six-pack paper photo

lineup that contained Loza and asked BALIAN to pick out anyone

he recognized.    BALIAN said that number two (Loza) "looks

familiar, but I don't know from where."        I asked BALIAN if he

remembered meeting the person in the photo or remembered the

context of how he recognized him, and BALIAN responded, "No.           I

think I saw maybe an article or something.        Or         read about

him somewhere."

     61.   TFO Cabrera then showed BALIAN the same six-pack

photo, but in color on TFO Cabrera's iPhone.        BALIAN noticed the

file name was "Loza Six Pack" and asked us if the person he
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pointed to in the photo was named Loza.        TFO Cabrera

acknowledged that it was Loza, but BALIAN still maintained that

he did not recognize Loza.      Specifically, BALIAN said, "he looks

familiar, but I don't know from where."

     62.   I asked BALIAN, "have you ever met a Jose Loza before

.      or "[CHS-3's moniker]."     BALIAN said "No" to both

individuals.

     63.   TFO Cabrera showed a colored photo of CHS-3 to BALIAN

and asked him if he recognized him.       BALIAN looked at the photo

and commented on CHS-3's neck tattoo, but said that he did not

recognize him.

     K.    Interview of CHS-3 by LAPD-RHD

     64.   On October 24, 2017, LAPD-RHD interviewed CHS-3.18         The

interview was recorded.     I have listened to the recording and

learned that CHS-3 told the detectives that Loza had a "DEA

agent" who provided Loza with information.        According to CHS-3,


     la In April 2017, CHS-3 was arrested by LAPD-RHD for
extortion. CHS-3 is a Hispanic male, St. Andrews (STA) gang
member, and a Mexican Mafia associate. At the time of the
interview, CHS-3 was in county jail pending trial on the
extortion charge. CHS-3 has prior arrests for Penal Code
Section 594(B)(1) Vandalism, an arrest and misdemeanor
convictions for Penal Code Section 12025(A) Carry a Concealed
Firearm, an arrest for Penal Code Section 69, Obstruct / Resist
Executive Officer, an arrest for Penal Code Section 186.22,
Participate in a Criminal Street Gang, an arrest for Health &
Safety Code 11350(A), Possession of a Controlled Substance, an
arrest for Penal Code Section 25850(C), Carrying a Loaded
Handgun, and an arrest and misdemeanor conviction for Vehicle
Code Section 23152(B), Driving While Under the Influence of
Alcohol. CHS-3 was also indicted in a Federal criminal case for
a violation of 21 U.S.C. ~ 846, that is currently pending. I
believe CHS-3 provided information to law enforcement in hopes
of receiving consideration for his pending state and federal
cases.


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the DEA agent would provide Loza with information pertaining to

locations and individuals the Mexican Mafia should extort.           The

detectives showed CHS-3 a six-pack photographic line up, which

included BALIAN.     Without hesitation, CHS-3 identified BALIAN as

the DEA Agent that worked for Loza.

     65.   The detectives asked CHS-3 about his relationship and

associations with BALIAN.      CHS-3 said he met BALIAN in person

approximately one month after Loza was arrested for murder.19

CHS-3 stated he was aware that BALIAN was working first with

P.C., and then with Loza.      CHS-3 said that after P.C. was

murdered and Loza was arrested, "The cop came looking for me."

     66.   CHS-3 stated that he was at Compadres Restaurant when

someone told him that someone was looking for him.          CHS-3

stated:
     I already knew about him. I had been with Cartune
     (Loza) and Trigger when they were talking to him,20 but
     he didn't want to meet or see anyone else at that
     time. Then Trigger got busted. At that time I was
     the only one out there. There were no other avenues,
     so he came looking for me. I was the only one out
     there on the street that he could trust. He comes to
     me with a list. Go pick up this money. Do this or
     that. Take care of -these Armenian people. Cartune
     says do this or that. Go hit these Armenian people.
     That's all the s**t I had to do.


     67.   CHS-3 told the detectives that BALIAN told P.C. the

FBI was coming to arrest "Bouncer" (Grey) the next day.



     19 From my investigation, I know that Loza was arrested for
Murder on May 23, 2016.
     20 CHS-3 identified "Trigger" as J.M. from the King Kobras
Street Gang. J.M. was arrested on August 16, 2016, and is
currently in Los Angeles County Jail, pending trial for a
violation of California Penal Code Section 187(A), Murder.


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According to CHS-3, P.C. relayed this information to "Bouncer,"

which resulted in "Bouncer" fleeing.21       CHS-3 explained that

BALIAN had called P.C. and said, "Tell your boy Bouncer that

he's the number 1 on the list for tomorrow."

     68.    CHS-3 said that CHS-3 and BALIAN made arrangements to

communicate via pre-paid cellular phones, which CHS-3 referred

to as "Burners."     CHS-3 explained that the "Burners" were only

to be used to communicate with each other, and for no more than

one month at a time.

     69.    LAPD Detectives obtained CHS-3's phone from the

evidence vault, and CHS-3 provided the passcode to unlock the

phone to the detectives.     CHS-3 said BALIAN was listed in the

contacts as "Bro."     LAPD detectives reviewed the phone and found

an entry for "Bro" with an associated cellular number of

(562)991-8178 (hereinafter, "Balian's Burner Phone").

     70.    LAPD Detectives found a text message conversation

between CHS-3 and Balian's Burner Phone.        In the message, CHS-3

said "hi bro", and Balian's Burner Phone responded, "Bro Ill be

in Pico."    CHS-3 responded and said, "Ok how your dad bro."

Based on my investigation, I am aware that BALIAN's father was

being treated for cancer.

     71.    CHS-3 told the detectives that he regularly met in

person with BALIAN and they changed burner phones about once a

month.   Due to security concerns, CHS-3 said he and BALIAN would

     21 As previously discussed, "Bouncer" (grey) is the lead
defendant in United States v. Jorge Grey, et al., CR No. 15-334-
PSG. I spoke to the case agent in that case and learned that
Grey was not home when agents executed their arrest warrants and
was a fugitive for more than a month before he was apprehended.

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only call each other on the burner phones.        CHS-3 said BALIAN

would provide CHS-3 information on locations of marijuana grows

and drug stash houses.     CHS-3 said BALIAN would obtain this

information from surveillances BALIAN conducted or information

obtained through his access as a law enforcement officer.

BALIAN would relay to CHS-3 the locations of where BALIAN or GPD

were planning to execute search warrants, and would ask CHS-3 to

"hit them" before law enforcement executed the search warrants.

According to CHS-3, BALIAN would also provide CHS-3 with the

names and locations of people to extort.        BALIAN instructed CHS-

3 to "slap around" individuals to persuade them to pay money.

BALIAN also told CHS-3 that Armenians would not respect or pay

CHS-3 if they did not fear CHS-3.

     72.    CHS-3 advised that after an individual known as "Pzo"

was arrested, "Pzo" was placed in federal custody at the

Metropolitan Detention Center, Los Angeles.22        CHS-3 was aware

that Loza was incarcerated at the same facility.         According to

CHS-3, it was during this time that Loza successfully extorted

"Pzo" (Kazarian) for $100,000.      CHS-3 believed that Loza

extorted Kazarian because BALIAN told Loza that Kazarian was in

Las Vegas "gambling a million dollars."

     73.    CHS-3 stated Kazarian paid the $100,000 in two

payments.    CHS-3 was not involved in picking up the first

payment of $50,000; however, CHS-3 said he collected the final

     zzOn July 6, 2017, Armen Kazarian, aka "Pzo," was arrested
by the EOCTF and the USMS for violating his Federal probation
after he left California without court permission. EOCTF
conducted surveillance of Kazarian on February 19-20, 2016, and
observed Kazarian gambling at the Wynn Hotel, Las Vegas, Nevada.

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$50,000 payment from an unknown Armenian male at Whole Foods off

of the 101 Freeway.      CHS-3 said that he delivered the money

directly to BALIAN.      According to CHS-3, BALIAN instructed CHS-3

to pay other individuals: Mexican Mafia members R.S. and M.T.

and an individual known as "Little V."        BALIAN then told CHS-3

to keep $5,000 for himself, and BALIAN retained the remaining

money.     Based on the instructions BALIAN was giving CHS-3, CHS-3

believed BALIAN was in communication with Loza.

        74.   CHS-3 told the detectives about another extortion that

BALIAN instructed him to initiate on behalf of Loza.          According

to CHS-3, BALIAN directed CHS-3 to go to "[O.K.'s] Auto Body"

and just "make up reasons to hit up the guy for money."          BALIAN

told CHS-3 to tell the owner, "Just say we're mad.         Make up

s**t.    Just hit them up for money."     After CHS-3 contacted

O.K.'s auto body shop, CHS-3 was told that the owner called

BALIAN and asked BALIAN for advice on how to handle the

extortion.      CHS-3 believes that BALIAN told the owner to pay

CHS-3.     CHS-3 said that he went back and forth to the business

several times dealing with the extortion, and even though "the

Armenian guy (at O.K.'s auto body shop) was hiding from me, one

of his Mexican workers paid me the money."

     75.      I have reviewed an LAPD police report made by O.K.

regarding an extortion which took place between December 2014

and January 2015.     According to the police report, the suspects

were described as heavily-tattooed male Hispanics.         The victim

allowed law enforcement to view his surveillance video and



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acknowledged that he paid the suspects,23 but eventually became

uncooperative with the investigating detectives.

     76.    CHS-3 also recalled an incident in which BALIAN told

CHS-3 about a recent arrest that the GPD made for drug

distribution.    According to CHS-3, BALIAN told CHS-3 that the

arrest occurred in a parking lot in the city of Pacoima off of

Van Nuys Blvd.     BALIAN said that his team recovered pounds of

methamphetamine.    CHS-3 said that BALIAN showed CHS-3 pictures

and said, "This is where we followed him from.         Go hit it

tonight, before my team goes there.              Get a crew and hit it

tonight."    CHS-3 stated that he did as instructed, but they did

not find anything. of value.

     77.    LAPD detectives spoke with BALIAN's supervisor, GPD

Sergeant Toby Darby, and asked if the Pacoima arrest was

familiar to him.    Sergeant Darby immediately recalled the

Pacoima arrest described by CHS-3 and stated it was an

investigation that BALIAN personally handled.         Sergeant Darby

told the LAPD that on January 9, 2017, the GPD narcotics team

followed a male Hispanic driving his truck from his residence in

Sylmar to a shopping center in Pacoima.        A pound of

methamphetamine was subsequently recovered by GPD Narcotics Unit

and two arrests were made.

     78.    CHS-3 also said that BALIAN asked him to rob an

Armenian male (believed to be Armen Berberyan) who stole

property from another Armenian male and identified CHS-2's true

     23 In a subsequent interview, CHS-3 identified himself and
J.M., aka "Trigger," from a surveillance photograph recovered
from O.K.'s auto body shop.

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and correct first name as the victim.         According to CHS-3,

BALIAN provided CHS-3 with the location of the residence of the

person who possessed the property; however, CHS-3 did not

provide the LAPD with the address during the interview, although

CHS-3 accurately described the residence.         CHS-3 said that

BALIAN told him to, "Go hit him.         He has all the s**t."


     79.     CHS-3 described another incident involving BALIAN.

According to CHS-3, BALIAN offered CHS-3 and J.M. $100,000 to

scare an individual.     CHS-3 said that he was unable to

participate but provided his grey Honda Pilot to J.M.

     80.     According to CHS-3, J.M. returned his vehicle after
J.M. attempted to scare the individual, and told CHS-3, "I think
I hit [shot] him."     CHS-3 responded, "I thought you told me that
you were just going to scare him."        CHS-3 said that J.M. left

the gun with CHS-3 but called CHS-3 later that night and said,
"I think I killed him.     [The area is] all blocked off."
     81.     CHS-3 believed that J.M. subsequently called BALIAN
for help, because BALIAN and J.M. subsequently drove to CHS-3's
residence, at which time CHS-3 gave the gun to BALIAN.
     82.     CHS-3 said that he believed the victim did not die,

and the shooting occurred off the I-5 freeway near a warehouse.
CHS-3 described the victim as an Armenian male, and occurred
approximately one year ago (from the time of his interview with
the LAPD).
     83.     LAPD Detectives conducted a review of their systems

and determined that on July 14, 2016, a shooting occurred in the
City of Commerce in the 5300 block of Sheila Street.          The victim

of the shooting, T.N., was a bodyguard and driver for G.T.
Based on my investigation, I know that G.T. is an Armenian male

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and the son of L.T.     According to the police report, G.T. and
T.N. had just left G.T.'s business, on Randolph Street, which is
located in the City of Commerce.         The location of the shooting

is between the 710 and 5 Freeways near Washington Boulevard,
which I believe is consistent with CHS-3's description of the
location.    The report describes the suspect's vehicle as a grey
Honda Pilot.
     84.    On November 27, 2017, the LAPD obtained a search
warrant from the Honorable Judge Ray G. Jurado of the Los
Angeles County Superior Court, for telecommunication records for
Balian's Personal Cell Phone, which I have subsequently
reviewed.    An analysis of the cell site location data shows that
Balian's Personal Cell Phone used a cell tower approximately two
blocks from CHS-3's residence on July 14, 2016, at 10:37pm.
     85.    Following the shooting of T.N., the victim's .SW was
impounded as evidence.     According to the LASD, Detective Nick

Stewart was contacted by Felix Cisneros, who at the time was a
SA with HSI.    Cisneros attempted to have the impound fees

exonerated on behalf of L.T. and G.T.
     86.    Cisneros was also suspected of corruption in the form
of assisting foreign nationals with entry into the United States
as a result of an investigation by the FBI, DHS-OIG, and the DHS
- Immigration and Customs Enforcement Office of Professional
Responsibility.24    LAPD detectives interviewed Cisneros and

determined that he was a close personal friend of BALIAN.
According to the LAPD, both Cisneros and BALIAN had worked for
G.T. as security.    Cisneros also advised the LAPD that Cisneros


     24 Cisneros was eventually indicted in the Central District
of California in CR No. 17-229(A)-CAS, and on April 24, 2018,
Cisneros was convicted by a jury of conspiracy to aid and assist
the entry of an alien convicted of an aggravated felony into the
United States, acting as agent of another person in a matter
affecting the government, falsification of records in a federal
investigation, and making false statements.

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had previously received information from BALIAN that victim H.K.
was involved in illegal marijuana distribution.

     L.     Review of Loza's Cellphone by HSI-HIDTA

     87.    On November 29, 2017, HSI SA Gutierrez searched a cell

phone belonging to Loza (hereinafter, "Loza's Cell Phone"),

pursuant to a search warrant signed by the Honorable Karen L.

Stevenson, United States Magistrate Judge.

     88.    During SA Gutierrez's review, he observed an outgoing

text message on May 17, 2016, to Balian's Personal Cell Phone.

The message stated, "New num 4 Santa fe."        Based on my training,

experience, and knowledge of this investigation, I know that

"Santa Fe" is a moniker for Loza, and is believed to refer to

him and his gang, Canta Ranas from Santa Fe Springs, California.

     89.    On May 20, 2016, Balian's Personal Cell Phone sent a

message to Loza's Cell Phone stating, "I'm ready to paint the

kitchen."    Loza responded and said, "K let me call."        SA

Gutierrez believes that BALIAN was using coded language ("ready

to paint the kitchen") when speaking with Loza and was likely

referring to some type of criminal activity.

     90.    Between May 21, 2016, and May 23, 2016, Balian's

Personal Cell Phone sent multiple text messages requesting to

meet with Loza, but Loza was unable to meet at that time.

     91.    On May 20, 2016, Balian's Personal Cell Phone sent a

text message to Loza's Cell Phone that stated, "P the camarada

just gave me pelon's # do you mind if I chop it up with him or

do you want me to wait until you get."       Loza's Cell Phone

responded and said, "Goahead."


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      92.   SA Gutierrez believes the letter "P" is a reference to

Loza because he is commonly referred to as "P" by other Canta

Ranas members, likely because one his monikers is "Pumpkin."

      M.    Telephone Analysis of CHS-3 Burner Cell Phone and

            Balian's Burner Phone

     93.    On November 27, 2017, the LAPD obtained a search

warrant from the Honorable Judge Ray G. Jurado of the Los

Angeles County Superior Court, for telecommunication records for

a cellphone used by CHS-3 (hereinafter, "CHS-3's Burner Phone")

and Balian's Burner Phone.

     94.    On December 15, 2017, LAPD received the call records

from the telecommunications company, which I have subsequently

reviewed.    An analysis of the cell site location data from

January 2017 to March 2017 showed that Balian's Burner Phone was

traveling from Seal Beach, California, to Glendale, California,

on a regular basis consistent with BALIAN's regular commute from

his home in Seal Beach to his work location at the GPD.          The

records also showed 16 calls between Balian's Burner Phone and

CHS-3's Burner Phone between March 29, 2017 and April 21, 2017,

consistent with CHS-3's proffer statement.

     95.    I have examined telecommunication records ranging

between January 23, 2017 and November 23, 2017, and learned that

Balian's Burner Phone called (xxx)xxx-0999 on two occasions on

April 5, 2017.    Telephone number (xxx)xxx-0999 is subscribed to

S.S. in Brownsville, Texas.      Based on my investigation, I

believe that S.S. is BALIAN's girlfriend.        Specifically, during

interviews in this investigation, BALIAN told investigators on

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two different occasions that he has a girlfriend named "Sandra."

I have also examined border-crossing records that show that

BALIAN has crossed the United States-Mexico border with S.S. on

multiple occasions.     In addition, toll records show that

Balian's Personal Cell Phone called (xxx)xxx-0999 1,534 times

between December 29, 2015 and January 5, 2018.25

       96.   I have reviewed toll records obtained by the LAPD and

learned that Balian's Personal Cell Phone called (562)200-6899

on July 15, 2017, the day after the .shooting of T.N. and

G.T.    CHS-3 identified (562)200-6899 as a cell phone used by

"Trigger" (J.M.).    Additional toll records obtained by the LAPD

showed that Balian's Burner Phone called (310)407-9063 during

the period of January 23, 2017 to March 22, 2017, on 27

occasions.     (310)407-9063 is associated with A.M., who provided

the number when she visited J.M. at the Los Angeles County Jail.

       N.    Request for Nighttime Service


       97.   I request that the Court authorize investigators to

serve the warrant on the SUBJECT PREMISES during the nighttime,

as set forth under Fed. R. Crim. Proc. 41(e)(2)(A)(ii)           Good

     25 On May 10, 2012, S.S. was referenced in an HSI criminal
investigation out of Brownsville, Texas, regarding international
money laundering by the Gulf Cartel. Based on my training and
experience, I understand that the Gulf Cartel is a violent
Mexican criminal organization involved in large scale drug
trafficking and human smuggling. During the investigation, HSI
learned that S.S. had a romantic relationship with the subject
of their investigation, a ranking Gulf Cartel member. On or
about February 12, 2013, HSI Brownsville SAs interviewed S.S.
During that interview, S.S. confirmed having a romantic
relationship with the subject, but claimed that she had no
knowledge of the subject's alleged criminal activities. The HSI
investigation was closed without charges being filed against
S.S.

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cause for nighttime service exists because of the violent nature

of the underlying criminal activities of BALIAN and his co-

conspirators.     I also believe that because BALIAN is a law

enforcement officer, he is likely to be familiar with law

enforcement tactics which may allow him to hinder the execution

of the search warrant in unforeseen ways, or at a minimum

destroy evidence, if he is able to detect the execution of the

search warrant.    And, if law enforcement were to execute this

warrant during the day time, it would be very difficult to evade

detection and would, thus, pose a risk for officer safety.

Further, I am aware that the GPD does not issue firearms to its

officers, and that BALIAN was required to purchase his own

firearm.    Therefore, I believe BALIAN is likely to possess a

firearm inside the SUBJECT PREMISES.

           VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES


     98.   As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and


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connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.     Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

I know that data in digital form can be stored on a variety of

digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

             a. Searching digital devices can be a highly

  technical process that requires specific expertise and

  specialized equipment.     There are so many types of digital

  devices and software programs in use today that it is

  impossible to bring to the search site all of the necessary

  technical manuals and specialized equipment necessary to

  conduct a thorough search.      In addition, it may be necessary to

  consult with specially trained personnel who have specific

  expertise in the types of digital devices, operating systems,

  or software applications that are being searched.

             b. Digital data is particularly vulnerable to

  inadvertent or intentional modification or destruction.

  Searching digital devices can require the use of precise,

  scientific procedures that are designed to maintain the

  integrity of digital data and to recover "hidden," erased,

  compressed, encrypted, or password-protected data.          As a

  result, a controlled environment, such as a law enforcement

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  laboratory or similar facility, is essential to conducting a

  complete and accurate analysis of data stored on digital

  devices.

             c. The volume of data stored on many digital devices

  will typically be so large that it will be highly impractical

  to search for data during the physical search of the premises.

  A single megabyte of storage space is the equivalent of 500

  double-spaced pages of text.      A single gigabyte of storage

  space, or 1,000 megabytes, is the equivalent of 500,000 double-

  spaced pages of text.     Storage devices capable of storing 500

  or more gigabytes are now commonplace.        Consequently, just one

  device might contain the equivalent of 250 million pages of

  data, which, if printed out, would completely fill three 35' x

  35' x 10' rooms to the ceiling.        Further, a 500 gigabyte drive

  could contain as many as approximately 450 full run movies or

  450,000 songs.

             d. Electronic files or remnants of such files can be

  recovered months or even years after they have been downloaded

  onto a hard drive, deleted, or viewed via the Internet.z6

  Electronic files saved to a hard drive can be stored for years

  with little or no cost.     Even when such files have been

  deleted, they can be recovered months or years later using

  readily-available forensics tools.       Normally, when a person

  deletes a file on a computer, the data contained in the file


     26 These statements do not generally apply to data stored in
volatile memory such as random-access memory, or "RAM," which
data is, generally speaking, deleted once a device is turned
off.

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  does not actually disappear; rather, that data remains on the

  hard drive until it is overwritten by new data.         Therefore,

  deleted files, or remnants of deleted files, may reside in free

  space or slack space, i.e., space on a hard drive that is not

  allocated to an active file or that is unused after a file has

  been allocated to a set block of storage space, for long

  periods of time before they are overwritten.         In addition, a

  computer's operating system may also keep a record of deleted

  data in a swap or recovery file.       Similarly, files that have

  been viewed on the Internet are often automatically downloaded

  into a temporary directory or cache.        The browser typically

  maintains a fixed amount of hard drive space devoted to these

  files, and the files are only overwritten as they are replaced

  with more recently downloaded or viewed content.         Thus, the

  ability to retrieve residue of an electronic file from a hard

  drive depends less on when the file was downloaded or viewed

  than on a particular user's operating system, storage capacity,

  and computer habits.     Recovery of residue of electronic files

  from a hard drive requires specialized tools and a controlled

  laboratory environment.     Recovery also can require substantial

  time.

             e. Although some of the records called for by this

  warrant might be found in the form of user-generated documents

  (such as word processing, picture, and movie files), digital

  devices can contain other forms of electronic evidence as well.

  In particular, records of how a digital device has been used,

  what it has been used for, who has used it, and who has been

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  responsible for creating or maintaining records, documents,

  programs, applications and materials contained on the digital

  devices are, as described further in the attachments, called

  for by this warrant.     Those records will not always be found in

  digital data that is neatly segregable from the hard drive

  image as a whole.     Digital data on the hard drive not currently

  associated with any file can provide evidence of a file that

  was once on the hard drive but has since been deleted or

  edited, or of a deleted portion of a file (such as a paragraph

  that has been deleted from a word processing file).          Virtual

  memory paging systems can leave digital data on the hard drive

  that show what tasks and processes on the computer were

  recently used.     Web browsers, e-mail programs, and chat

  programs often store configuration data on the hard drive that

  can reveal information such as online nicknames and passwords.

  Operating systems can record additional data, such as the

  attachment of peripherals, the attachment of USB flash storage

  devices, and the times the computer was in use.         Computer file

  systems can record data about the dates files were created and

  the sequence in which they were created.        This data can be

  evidence of a crime, indicate the identity of the user of the

  digital device, or point toward the existence of evidence in

  other locations.    Recovery of this data requires specialized

  tools and a controlled laboratory environment, and also can

  require substantial time.

             f. Further, evidence of how a digital device has

  been used, what it has been used for, and who has used it, may

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  be the absence of particular data on a digital device.           For

  example, to rebut a claim that the owner of a digital device

  was not responsible for a particular use because the device was

  being controlled remotely by malicious software, it may be

  necessary to show that malicious software that allows someone

  else to control the digital device remotely is not present on

  the digital device.     Evidence of the absence of particular data

  on a digital device is not segregable from the digital device.

  Analysis of the digital device as a whole to demonstrate the

  absence of particular data requires specialized tools and a

  controlled laboratory environment, and can require substantial

  time.

             g. Digital device users can attempt to conceal data

  within digital devices through a number of methods, including

  the use of innocuous or misleading filenames and extensions.

  For example, files with the extension ".jpg" often are image

  files; however, a user can easily change the extension to

  ".txt" to conceal the image and make it appear that the file

  contains text.    Digital device users can also attempt to

  conceal data by using encryption, which means that a password

  or device, such as a "dongle" or "keycard," is necessary to

  decrypt the data into readable form.        In addition, digital

  device users can conceal data within another seemingly

  unrelated and innocuous file in a process called

  "steganography."    For example, by using steganography a digital

  device user can conceal text in an image file that cannot be

  viewed when the image file is opened.        Digital devices may also
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  contain "booby traps" that destroy or alter data if certain

  procedures are not scrupulously followed.        A substantial amount

  of time is necessary to extract and sort through data that is

  concealed, encrypted, or subject to booby traps, to determine

  whether it is evidence, contraband or instrumentalities of a

  crime.   In addition, decryption of devices and data stored

  thereon is a constantly evolving field, and law enforcement

  agencies continuously develop or acquire new methods of

  decryption, even for devices or data that cannot currently be

  decrypted.

     99.    Based on my knowledge, training, and experience, as

well as information related to me by agents and others involved

in the investigation, I know of other factors that may prevent a

search of any digital devices at the Subject Premises, including

the following: (1) BALIAN's GPD personnel file indicates that he

is a certified interpreter in the Armenian language, and at

least one other unspecified language; (2) according to J.S.,

BALIAN frequently purchased new burner cell phones and I believe

several burner phones may be found inside the Subject Premises;

and (3) BALIAN has attempted to hide or destroy evidence in the

past when he disposed of the firearm that was used in the drive-

by shooting described in paragraph 81 above.

     100. Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.




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                            VIII.    CONCLUSION


      101. For all the reasons described above, there is probable

cause to support an arrest warrant and criminal complaint

charging BALIAN with a violation of 18 U.S.C. § 1001, False

Statements to Federal Agents, and that evidence, fruits, and

instrumentalities of the offenses described in Attachment B will

be found at the premises described in Attachments A-1 and A-2.




                                                !S~
                                         MICHAEL HYLAND
                                         HSI SPECIAL AGENT



Subscribed to and sworn before me
this t y d~day of May 2018.


         ~;L~Cth & I~~S~NB~~6
HONORABLE
UNITED STATES MAGISTRATE JUDGE




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